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  Rep. Rhetta Andrews Bowers Releases Statement on Barbers Hill ISD
                    Texas CROWN Act Violation

FOR IMMEDIATE RELEASE
9/22/2023

House Bill 567, also known as The Texas CROWN Act, authored by Representative Rhetta Andrews
Bowers, became law on September 1st, 2023. The CROWN Act, which stands for Creating a Respectful
and Open World for Natural Hair, prohibits discrimination on the basis of hair texture or protective
hairstyle associated with race.

Darryl George, a student at Barbers Hill High School in Barbers Hill ISD, has faced disciplinary action
and suspension due to his choice to wear locs, a hairstyle explicitly named and protected in the
legislation. Many supporters of the CROWN Act, including Rep. Bowers, believe the school’s choice to
discipline this student for his protective hairstyle violates the CROWN Act.

Rep. Bowers released the following statement:

        “I stand firmly with Darryl George and his family through this incredibly difficult and trying
        time. The Texas CROWN Act was passed to prevent situations like this, and it is very
        disappointing to see Barbers Hill ISD attempt to find loopholes to skirt the law and perpetuate
        hair discrimination. I am calling for the district to revise their dress and grooming code in
        accordance with the CROWN Act and to end the disciplinary actions taken against Darryl
        George for wearing locs.

        “I support any and all means necessary to bring justice, proper enforcement and implementation
        to all school districts and places of employment when it comes to compliance with the Texas
        CROWN Act. We will continue to advocate for Darryl George and educate the general public as
        to the protections of this new law – standing up for anyone that is treated unfairly and
        discriminated against in any way.”


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